UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

ADVISORS, LLC,

Defendants.

BWA LPW LLC )
)
Plaintiff, )
)
v. ) C.A. No. 24-cv-12066-WGY
)
DAVID H. ALLEN, )
BWA WELLESLEY LLC, and ) JURY TRIAL DEMANDED
PROVIDENCE FINANCIAL )
)
)
)
)

rs Sarteronane RESTRAINING ORDER er’

Upon consideration of Plaintiff BWA LPW LLC’s (“BWA”) Emergency Motion for
Temporary Restraining Order, Verified Complaint, and after a hearing, this Court finds that the
Plaintiff has demonstrated a substantial likelihood of success on the merits of its claim for
Defendants’ unlawful access of stored communications in violation of the Stored Communications
Act (18 U.S.C. 2701, et seg.), there is a substantial risk that Plaintiff will suffer immediate
irreparable harm if a Temporary Restraining Order is not entered, the balance of harms favors
issuance of a Temporary Restraining Order, and the injunctive relief sought is not inconsistent
with the public interest, Plaintiff's Motion is therefore ALLOWED, and it is hereby ORDERED
that:

Defendants and those acting in concert with them are hereby enjoined from controlling,
accessing, modifying, or restricting BWA’s access to, or attempting to control, access, modify, or
restrict BWA’s access to any GoDaddy account(s) that controls the website and/or email domains

currently and/or previously utilized by Balance Wealth Advisors and/or BWA, as well as any
LinkedIn, Google, eFax, Redtail Technologies and other web-based, cloud-based, or electronic
accounts currently and/or previously utilized by BWA.

The Temporary Restraining Order shall become effective immediately upon entry. It shall
expire in 14 days, unless it is extended for good cause shown or by further order of this Court. A

hearing on the preliminary injunction is set for the 3"? day of September, 2024, at 10:30 a.m.

SO ORDERED this 14" day of August, 2024.

C ee Nace

United States District Court Judge

